         Case 1:16-cr-00192-DLH                Document 70           Filed 09/01/16          Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                             )
                                                      )
                  Plaintiff,                          )        ORDER
                                                      )
         vs.                                          )
                                                      )
Tomika Wauneka,                                       )        Case No. 1:16-cr-192
                                                      )
                  Defendant.                          )


         Defendant made her initial appearance in Albuquerque before the United States District

Court for the District of New Mexico on August 15, 2016. She was conditionally released with

instruction to appear in the District of North Dakota as directed for further proceedings.

         This court shall schedule defendant's arraignment for September 13, 2016, at 11:00 a.m.

CDT/10:00 a.m MDT. The court has appointed counsel to represent defendant for the proceedings

in the District of North Dakota. Given defendant's lack of resources, defendant need not travel to

North Dakota for the arraignment. Rather, she may appear via video from the United States

Courthouse in Albuquerque, New Mexico. See Fed. R. Civ. P. 10 (c) ("Video teleconferencing may

be used to arraign a defendant if the defendant consents.").1

         IT IS SO ORDERED.

         Dated this 1st day of September, 2016.

                                                               /s/ Charles S. Miller, Jr.
                                                               Charles S. Miller, Jr., Magistrate Judge
                                                               United States District Court




         1
           Defendant need not be present for the arraignment if she files a waiver of her personal appearance pursuant
to Fed. R. Crim. P. 10 (b). If defendant files a waiver, the video conference will be cancelled.
